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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                        UNITED STATES DISTRICT COURT                           October 14, 2021
                                                                              Nathan Ochsner, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                           CORPUS CHRISTI DIVISION

 UNITED STATES OF AMERICA,                 §
  Plaintiff,                               §
                                           §
       v.                                  §      CRIMINAL CASE NO. 2:20-CR-788-2
                                           §
 RUDY ALONZO, JR.,                         §
  Defendant.                               §

                       MEMORANDUM OPINION & ORDER

       Pending before the Court is Defendant Rudy Alonzo, Jr.’s letter motion for

compassionate release or home confinement. (Dkt. No. 96). For the reasons stated

below, the motion is DENIED.

I.     BACKGROUND

       Earlier this year, Defendant pled guilty to conspiracy to possess with intent to

distribute 33 grams of methamphetamine (actual). He has served 11 months (16%) of his

70-month sentence and has a projected release date, after good time credit, of October

16, 2025. Defendant now moves the Court for compassionate release or to be transferred

to home confinement because he wants to be home with his family, especially his three

children.

II.    COMPASSIONATE RELEASE

       The statute, 18 U.S.C. § 3582(c)(1)(A), authorizes a court to reduce a defendant’s

sentence under limited circumstances:

       (c) Modification of an Imposed Term of Imprisonment.—The
       court may not modify a term of imprisonment once it has been
       imposed except that—
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             (1) in any case—

                (A) the court, upon motion of the Director of the Bureau of
                Prisons, or upon motion of the defendant after the defendant
                has fully exhausted all administrative rights to appeal a failure of
                the Bureau of Prisons to bring a motion on the defendant’s behalf
                or the lapse of 30 days from the receipt of such a request by the
                warden of the defendant’s facility, whichever is earlier, may
                reduce the term of imprisonment (and may impose a term of
                probation or supervised release with or without conditions
                that does not exceed the unserved portion of the original
                term of imprisonment), after considering the factors set forth
                in section 3553(a) to the extent that they are applicable, if it
                finds that—

                   (i) extraordinary and compelling reasons warrant such a
                   reduction . . . and that such a reduction is consistent with
                   applicable policy statements issued by the Sentencing
                   Commission.

18 U.S.C. § 3582(c)(1)(A)(i) (emphasis added).

          “Neither the [U.S. Sentencing Commission’s compassionate-release] policy

statement nor the commentary to it binds a district court addressing a prisoner’s own

motion under § 3582.” United States v. Shkambi, 993 F.3d 388, 393 (5th Cir. 2021).

Although “not dispositive,” the commentary to U.S.S.G. § 1B1.13 nonetheless “informs

[the Court’s] analysis as to what reasons may be sufficiently ‘extraordinary and

compelling’ to merit compassionate release.” United States v. Thompson, 984 F.3d 431, 433

(5th Cir. 2021) (citing United States v. Rivas, 833 Fed. App’x 556, 558 (5th Cir. Nov. 2,

2020)).

             (A) Medical Condition of the Defendant.—

                (i) The defendant is suffering from a terminal illness (i.e., a
                serious and advanced illness with an end of life trajectory).
                A specific prognosis of life expectancy (i.e., a probability of
                death within a specific time period) is not required.


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             Examples    include      metastatic    solid-tumor    cancer,
             amyotrophic lateral sclerosis (ALS), end-stage organ disease,
             and advanced dementia.

             (ii) The defendant is—

                 (I) suffering from a serious physical or medical condition,

                 (II) suffering from a serious functional or cognitive
                 impairment, or

                 (III) experiencing deteriorating physical or mental health
                 because of the aging process,

                 that substantially diminishes the ability of the defendant
                 to provide self-care within the environment of a
                 correctional facility and from which he or she is not
                 expected to recover.

          (B) Age of the Defendant. –

             The defendant is (i) at least 65 years old; (ii) is experiencing a
             serious deterioration in physical or mental health because of
             the aging process; and (iii) has served at least 10 years or 75
             percent of his or her term of imprisonment, whichever is
             less;

          (C) Family Circumstances. –

             (i) The death or incapacitation of the caregiver of the
             defendant’s minor child or minor children.

             (ii)   The incapacitation of the defendant’s spouse or
             registered partner when the defendant would be the only
             available caregiver for the spouse or registered partner.

          (D) Other Reasons. –

             As determined by the Director of the Bureau of Prisons,
             there exists in the defendant’s case an extraordinary or
             compelling reason other than, or in combination with, the
             reasons described in subdivisions (A) through (C).

U.S.S.G. § 1B1.13(1)(A), Application Note 1.




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       Even if “extraordinary and compelling reasons” for early release exist, the

Guidelines’ policy statements provide for a reduction in sentence only if a defendant “is

not a danger to the safety of any other person or the community, as provided in 18

U.S.C. §3142(g).” U.S.S.G. § 1B1.13(2). Factors relevant to this inquiry include: (1) the

nature and circumstances of the offenses of conviction, including whether the offense is

a crime of violence, or involves a minor victim, a controlled substance, or a firearm,

explosive, or destructive device; (2) the weight of the evidence; (3) the defendant’s

history and characteristics; and (4) the nature and seriousness of the danger to any

person or the community that would be posed by the defendant’s release. See 18 U.S.C.

§ 3142(g).

       The Court must also consider whether a reduction is consistent with the

applicable Section 3553(a) factors. See 18 U.S.C. § 3582(c)(1)(A); U.S.S.G. § 1B1.13. The

applicable statutory factors include, among others: the defendant’s history and

characteristics; the nature and circumstances of the offense; the need for the sentence to

reflect the seriousness of the offense, promote respect for the law, and provide just

punishment for the offense; the need to deter criminal conduct and protect the public

from further crimes of the defendant; the need to provide the defendant with, among

other things, any needed medical treatment; and the various kinds of sentences

available. See 18 U.S.C. §§ 3553(a)(1)-(7). “In general, the defendant has the burden to

show circumstances meeting the test for compassionate release.” United States v. Stowe,

2019 WL 4673725, at *2 (S.D. Tex. Sept. 25, 2019).




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        Defendant moves the Court for compassionate release because he wants to be at

home with his family, especially his three children. This is hardly extraordinary—most,

if not all, inmates would prefer to be at home instead of in prison. Defendant also has

offered no evidence that he has pursued his remedies within the BOP before petitioning

the Court for compassionate release as required. Because he has failed to demonstrate

his compliance with the exhaustion requirements under Section 3582, his motion is not

ripe for review, and the Court is without jurisdiction to grant it. See generally, Ross v.

Blake, 136 S. Ct. 1850, 1856–57 (2016).

III.    HOME CONFINEMENT

        “With respect to home confinement, it is well-established that the BOP has sole

authority to determine an inmate’s placement, with consideration given to a district

court’s non-binding recommendation.” United States v. Reed, 464 F. Supp. 3d 854, 862

(E.D. La. 2020) (citing 18 U.S.C. § 3621(b); United States v. Voda, 994 F.2d 149, 151 (5th

Cir. 1993)). See also United States v. Forman, 2021 WL 1536491, at *9 (E.D. Tex. Apr. 16,

2021) (“The BOP, however, has the exclusive authority to determine where a prisoner is

housed; thus, the court is without authority to order home confinement.”); Valencia v.

Carr, 2020 WL 4581645, at *2 (N.D. Tex. Aug. 7, 2020) (“[W]ith regard to Petitioner’s

request to be released to home confinement, it is well settled that there is no

constitutionally protected right to be confined in any particular place, including in-

home confinement.”). An inmate’s initial remedy to challenge this determination is by

administrative action within the BOP. The proper vehicle to thereafter challenge the

BOP’s administrative decisions is a petition pursuant to 28 U.S.C. § 2241, which must be


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filed in the same district where the prisoner is incarcerated. See Pack v. Yusuff, 218 F.3d

448, 451 (5th Cir. 2000).

       Defendant is currently incarcerated at FCI Forrest City Medium, which is located

in the Eastern District of Arkansas. Assuming Defendant remains incarcerated in

Forrest City, he should file any Section 2241 petition in the Eastern District of Arkansas

after first exhausting his administrative remedies.

IV.    CONCLUSION

       For the reasons stated above, Defendant’s letter motion for compassionate release

or home confinement (Dkt. No. 96) is DENIED.

       It is so ORDERED.



       October 13, 2021

                                                       ____________________________________
                                                       DREW B. TIPTON
                                                       UNITED STATES DISTRICT JUDGE




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